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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,

      v.
                                                       96-CR-92
HENRY PAUL,
                Defendant.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge

                                   DECISION & ORDER

      On January 6, 1997 Defendant Henry Paul pleaded guilty to Count 1 of Indictment

No. 96-CR-62 charging him with conspiring to possess with the intent to distribute and

distribution of cocaine and cocaine base, in violation of 21 U.S.C. §§ 846 and 841 (a)(1).

Paul’s guilty plea was pursuant to a Plea Agreement under former Fed. R. Civ. P.

11(e)(1)(C) which contained an agreed-upon sentence of 180 months with the possibility

of a further reduction based upon Paul’s cooperation with prosecutors.

      At sentencing, the Court determined Paul’s United States Sentencing Guidelines

(“USSG”) offense level to be a 40 and his criminal history category to be a IV, which, had it

not been for the Rule 11(e)(1)(C) agreement, would have resulted in a USSG range of 360

months to life imprisonment. However, because the Court had accepted the parties’

agreement and because the Court granted the Government’s motion for an additional

reduction based upon Paul’s cooperation, the Court sentenced Paul to 151 months

imprisonment.

      Defendant now seeks a further sentence reduction pursuant to 18 U.S.C. §

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3582(c)(2) in light of the retroactive application of Amendment 706 to the United States

Sentencing Guidelines (“U.S.S.G.”) for crack cocaine offenses. The motion is denied.

      18 U.S.C. § 3582(c)(2) provides in relevant part:

      “[I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o),
      upon motion of the defendant or the Director of the Bureau of Prisons, or on
      its own motion, the court may reduce the term of imprisonment, after
      considering the factors set forth in section 3553(a) to the extent that they are
      applicable, if such a reduction is consistent with applicable policy statements
      issued by the Sentencing Commission.”

18 U.S.C. § 3582(c)(2)(emphasis added).

      Defendant Paul was not sentenced “based on a sentencing range that has

subsequently been lowered by the Sentencing Commission,” but rather was sentenced

upon the parties’ Rule 11(e)(1)(C) agreement and the Government’s subsequent motion.

To the extent that Amendment 706 could be applied to Paul’s case, it would reduce his

USSG range to 324 - 404 months imprisonment, well beyond that imposed by this Court.

      It is therefore

      ORDERED that Defendant’s motion to reduce his sentence is DENIED.


DATED:June 19, 2008




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